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UNITED BTATES OF AMERIGA, ]
Plaintiff, j No* ' ~ c`- § wn€
v. )
.I. 11 .D. § E § § § § §
F.ENNETH JAY STII..L, )
(18 USC 1542)
Defendsnt- )

Thn Grand Ju:y charges:

Dn or about cbs 16th day of Denember, l§??, at Rnckwell
City. Calhoun County. in the Central Divisisn of thi Nufbh&rn
District uf lasa. KENNETH JAY STILL, in violation of Titls 18,
Unit¢d Etates Code, Ss¢tlon 15&2, did wilfully and knowingly make
s false statement in an application for s passpbrt With intunt
to induce and occurs fur his own usa the issuance :h¢f¢¢f under
the authority of the Uhit¢d Btnt:s, contrary to the laws rsgulitihg
the issuance of such passports and the rules prescribed pursuant to
such laws. in that, in sung gpplicatiun, executed by him at a
passport agency of the United Statss at Roskwsll City, Isws. in the
name sf "Allan Car;ull Portsr", KENNETH JAY STILL stated that his name
was "Allan Enrroll Paru¢r", whnféas, in truth and fsct, ss he than

kusw. his name was not "Allsn Csrroll Pottet".

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Case 3:79-cr-03007-DEO Document 1 Filed 06/19/79 Page 1 of 1

 

 

